      Case 8:20-cv-02184-MSS-SPF Document 134 Filed 10/27/23 Page 1 of 19 PageID 1433
                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                          Sam M. Gibbons U.S. Courthouse
                                                Office of the Clerk
                                             801 North Florida Avenue
                                                 Tampa, FL 33602
                                                  (813) 301-5400
                                              www.flmd.uscourts.gov
Elizabeth M. Warren                                                                               Kristin Esposito
Clerk of Court                                                                             Tampa Division Manager

DATE: October 27, 2023

TO:    Clerk, U.S. Court of Appeals for the Eleventh Circuit

MELANIE NICOLE MOORE,

       Plaintiff,

v.                                                               Case No: 8:20-cv-2184-MSS-SPF

POOCHES OF LARGO, INC. and LUIS MARQUEZ,

       Defendants.


U.S.C.A. Case No.:             TBD

Enclosed are documents and information relating to an appeal in the above-referenced action. Please
acknowledge receipt on the enclosed copy of this letter.

      Honorable Mary S. Scriven, United States District Judge appealed from.

      Appeal filing fee was not paid. Upon filing a notice of appeal, the appellant must pay the district clerk
       all required fees. The district clerk receives the appellate docket fee on behalf of the court of appeals. If
       you are filing informa pauperis, a request for leave to appeal in forma pauperis needs to be filed with the
       district court.

      Certified copy of Notice of Appeal, docket entries, judgment and/or Order appealed from. Opinion was
       not entered orally.


      Court Reporter: David Collier

                                               ELIZABETH M. WARREN, CLERK

                                               By:     s/K. Elliott, Deputy Clerk
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                                                                                    APPEAL, CLOSED
                              U.S. District Court
                       Middle District of Florida (Tampa)
              CIVIL DOCKET FOR CASE #: 8:20−cv−02184−MSS−SPF

  Moore v. Pooches of Largo, Inc. et al                       Date Filed: 09/16/2020
  Assigned to: Judge Mary S. Scriven                          Date Terminated: 09/26/2023
  Referred to: Magistrate Judge Sean P. Flynn                 Jury Demand: Plaintiff
  Cause: 29:201 Fair Labor Standards Act                      Nature of Suit: 710 Labor: Fair Standards
                                                              Jurisdiction: Federal Question
  Plaintiff
  Melanie Nicole Moore                          represented by Melanie Nicole Moore
                                                               15519 Darien Way
                                                               Clearwater, FL 33764
                                                               727−241−9199
                                                               Email: vettechmnm@gmail.com
                                                               PRO SE

                                                              Ana M. Abdo
                                                              Hill Ward Henderson
                                                              101 E Kennedy Blvd Ste 3700
                                                              Tampa, FL 33602
                                                              813−506−5191
                                                              Email: ana.abdo@hwhlaw.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED


  V.
  Defendant
  Pooches of Largo, Inc.                        represented by Matthew Seth Sarelson
  doing business as                                            Dhillon Law Group, Inc.
  Petland                                                      1601 Forum Place
                                                               Suite 403
                                                               West Palm Beach, FL 33401
                                                               305−773−1952
                                                               Email: Msarelson@dhillonlaw.com
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                              Zachary Allen Stoner
                                                              Dhillon Law Group
                                                              1601 Forum Place
                                                              Suite 403
                                                              West Palm Beach, FL 33433
                                                              954−815−5432
                                                              Email: zstoner@dhillonlaw.com
                                                              ATTORNEY TO BE NOTICED


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  Defendant
  Luis Marquez                                    represented by Matthew Seth Sarelson
  Individually and as owner of Pooches of                        (See above for address)
  Largo, Inc.                                                    LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                                  Zachary Allen Stoner
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

  Objector
  Richard Celler                                  represented by Noah E. Storch
                                                                 Richard Celler Legal, P.A.
                                                                 10368 W. SR 84, Suite 103
                                                                 Davie, FL 33324
                                                                 866/344−9243
                                                                 Fax: 954/337−2771
                                                                 Email: noah@floridaovertimelawyer.com


   Date Filed      #    Docket Text
   09/16/2020       1   COMPLAINT against Luis Marquez, Pooches of Largo, Inc. with Jury Demand filed
                        by Melanie Moore. (Attachments: # 1 Exhibit, # 2 Civil Cover Sheet)(TDC)
                        (Entered: 09/17/2020)
   09/16/2020       2   MOTION to Proceed In Forma Pauperis / Affidavit of Indigency by Melanie Moore.
                        (TDC) Motions referred to Magistrate Judge Sean P. Flynn. (Entered: 09/17/2020)
   09/16/2020       3   MOTION to Appoint Counsel by Melanie Moore. (TDC) Motions referred to
                        Magistrate Judge Sean P. Flynn. (Entered: 09/17/2020)
   09/18/2020       4   RELATED CASE ORDER AND NOTICE of designation under Local Rule 3.05
                        − track 2. Notice of pendency of other actions due by 10/2/2020. Signed by Judge
                        Mary S. Scriven on 9/18/2020. (CRB) (Entered: 09/18/2020)
   09/18/2020       5   INTERESTED PERSONS ORDER Certificate of interested persons and
                        corporate disclosure statement due by 10/2/2020. Signed by Judge Mary S.
                        Scriven on 9/18/2020. (CRB) (Entered: 09/18/2020)
   09/18/2020       6   ORDER granting 2 Motion to Proceed In Forma Pauperis; denying 3 Request
                        for Court Appointed Attorney. The Clerk is directed to email a copy of this
                        Order to Plaintiff. Signed by Magistrate Judge Sean P. Flynn on 9/18/2020.
                        (CKR) (Entered: 09/18/2020)
   09/24/2020       8   MOTION for Miscellaneous Relief, specifically for access to CM/ECF by Melanie
                        Moore. (TDC) (Entered: 09/25/2020)
   09/24/2020       9   NOTICE of pendency of related cases re 4 Related case order and track 2 notice per
                        Local Rule 1.04(d) by Melanie Moore. Related case(s): yes. (TDC) (Entered:
                        09/25/2020)
   09/24/2020      10   CERTIFICATE of interested persons and corporate disclosure statement re 5
                        Interested persons order by Melanie Moore. (TDC) (Entered: 09/25/2020)

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  09/25/2020    7   SUMMONS issued as to Luis Marquez, Pooches of Largo, Inc. (TDC) (Entered:
                    09/25/2020)
  10/02/2020   11   ORDER GRANTING 8 Plaintiff's construed Motion for Permission to File
                    Electronically. Signed by Judge Mary S. Scriven on 10/2/2020. (APF) (Entered:
                    10/02/2020)
  11/05/2020   12   NOTICE Regarding USM 285 Forms by Melanie Nicole Moore. (Attachments: # 1
                    Mailing Envelope)(TDC) (Entered: 11/06/2020)
  12/04/2020   13   NOTICE of Appearance by Matthew Seth S P.A. on behalf of Luis Marquez,
                    Pooches of Largo, Inc. (P.A., Matthew Seth) (Entered: 12/04/2020)
  12/10/2020   14   MOTION for Extension of Time to File Answer to Complaint following Informal
                    Waiver of Service by All Defendants. (P.A., Matthew Seth) Modified on 12/11/2020
                    (TDC). (Entered: 12/10/2020)
  12/11/2020   15   ENDORSED ORDER GRANTING 14 Defendants' Waiver of Service and
                    Motion to Set Response Deadline. Defendants shall have up to and including
                    January 14, 2021 to file answers or otherwise respond to the Complaint. Plaintiff
                    need not undertake any further efforts to serve the Defendants because they
                    have agreed to appear without service. Signed by Judge Mary S. Scriven on
                    12/11/2020. (APF) (Entered: 12/11/2020)
  12/28/2020   16   RETURN of service on 12/4/2020 by Melanie Nicole Moore as to Luis Marquez.
                    (CRH) (Entered: 12/29/2020)
  12/28/2020   17   RETURN of service on 12/4/2020 by Melanie Nicole Moore as to Pooches of Largo,
                    Inc. (CRH) (Entered: 12/29/2020)
  01/12/2021   18   First MOTION to Disqualify Counsel Mathew Sarelson by Melanie Nicole Moore.
                    (Attachments: # 1 Exhibit Email from OC 12/4/20, # 2 Exhibit Email from OC
                    12/10/20)(Moore, Melanie) Motions referred to Magistrate Judge Sean P. Flynn.
                    (Entered: 01/12/2021)
  01/12/2021   19   MOTION to Dismiss Complaint for Failing to State a Cause of Action, MOTION to
                    Strike 1 Complaint as a Sham Pleading by All Defendants. (P.A., Matthew Seth)
                    (Entered: 01/12/2021)
  01/20/2021   20   RESPONSE in Opposition re 18 First MOTION to Disqualify Counsel Mathew
                    Sarelson filed by Luis Marquez, Pooches of Largo, Inc. (P.A., Matthew Seth)
                    Modified on 1/21/2021 (TDC). (Entered: 01/20/2021)
  01/22/2021   21   ORDER denying 18 Plaintiff's Motion to Disqualify Defendants' Counsel.
                    Signed by Magistrate Judge Sean P. Flynn on 1/22/2021. (CKR) (Entered:
                    01/22/2021)
  02/01/2021   22   RESPONSE in Opposition re 19 MOTION to Dismiss Complaint for Failing to State
                    a Cause of Action MOTION to Strike 1 Complaint as a Sham Pleading filed by
                    Melanie Nicole Moore. (Moore, Melanie) (Entered: 02/01/2021)
  04/05/2021   23   First MOTION for Miscellaneous Relief, specifically PACER Fee Waiver and
                    Exemption Order by Melanie Nicole Moore. (Attachments: # 1 Exhibit
                    Email/PACER)(Moore, Melanie) (Entered: 04/05/2021)
  04/07/2021   24   First MOTION for Miscellaneous Relief, specifically order for clarification of
                    discovery/order to amend complaint by Melanie Nicole Moore. (Attachments: # 1

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                    Exhibit CM emails)(Moore, Melanie) Modified on 4/7/2021 (TDC). (Entered:
                    04/07/2021)
  04/16/2021   25   ORDER GRANTING 23 Plaintiff's Motion for PACER Fee Exemption Order.
                    Signed by Judge Mary S. Scriven on 4/16/2021. (APF) (Entered: 04/16/2021)
  07/03/2021   26   NOTICE of change of address by Matthew Seth Sarelson. ***COUNSEL NOTIFED
                    TO UPDATE CONTACT INFORMATION THROUGH PACER.*** (Sarelson,
                    Matthew) Modified on 7/6/2021 (TDC). (Entered: 07/03/2021)
  07/07/2021   27   First MOTION for Order to Show Cause Hearing by Melanie Nicole Moore.
                    (Attachments: # 1 Exhibit Email messages to/from OC /CM)(Moore, Melanie)
                    Modified on 7/8/2021 (TDC). (Entered: 07/07/2021)
  07/21/2021   28   RESPONSE in Opposition re 27 First MOTION for Order to Show Cause filed by
                    Luis Marquez, Pooches of Largo, Inc. (Sarelson, Matthew) Modified on 7/22/2021
                    (TDC). (Entered: 07/21/2021)
  07/28/2021   29   ORDER GRANTING IN PART AND DENYING IN PART 19 Defendants'
                    Motion to Dismiss and/or Strike the Complaint as a Sham, Shotgun Pleading.
                    Signed by Judge Mary S. Scriven on 7/28/2021. (APF) (Entered: 07/28/2021)
  07/28/2021   30   FLSA SCHEDULING ORDER. Signed by Judge Mary S. Scriven on 7/28/2021.
                    (APF) (Entered: 07/28/2021)
  07/30/2021   31   ORDER GRANTING IN PART AND DENYING IN PART 24 Plaintiff's
                    Motion for Relief; DENYING 27 Plaintiff's Motion for an Order and Hearing to
                    Show Cause. Signed by Judge Mary S. Scriven on 7/30/2021. (APF) (Entered:
                    07/30/2021)
  07/30/2021   32   CORPORATE Disclosure Statement by Luis Marquez, Pooches of Largo, Inc.
                    (Sarelson, Matthew) Modified on 8/2/2021 (TDC). (Entered: 07/30/2021)
  08/09/2021   33   ANSWER and affirmative defenses to 1 Complaint by Luis Marquez, Pooches of
                    Largo, Inc. (Attachments: # 1 Exhibit A − Pay Stubs)(Sarelson, Matthew) Modified
                    on 8/9/2021 (TDC). (Entered: 08/09/2021)
  08/13/2021   34   ANSWER to court interrogatories by Melanie Nicole Moore. (Attachments: # 1
                    Exhibit, # 2 Notarization)(TDC) (Entered: 08/13/2021)
  05/02/2022   35   First MOTION to Amend Complaint by Melanie Nicole Moore. (Moore, Melanie)
                    (Entered: 05/02/2022)
  05/02/2022   36   TERMINATED PURSUANT TO DKT. 42 ORDER. AMENDED COMPLAINT
                    Melanie Moore against All Defendants with Jury Demand. filed by Melanie Nicole
                    Moore.(Moore, Melanie) Modified on 11/14/2022 (LD). (Entered: 05/02/2022)
  05/02/2022   37   ***TERMINATED−INCORRECT EVENT−EXHIBIT CANNOT BE FIRST
                    PAGE. COUNSEL TO REFILE AS SUPPLEMENT AND LINK TO DOC 36
                    AMENDED COMPLAINT***AMENDED COMPLAINT Melanie Moore against
                    All Defendants with Jury Demand. filed by Melanie Nicole Moore. (Attachments: # 1
                    Exhibit Exhibits)(Moore, Melanie) Modified on 5/3/2022 (LSS). (Entered:
                    05/02/2022)
  05/02/2022   38   RESPONSE in Opposition re 35 First MOTION to Amend Complaint filed by Luis
                    Marquez, Pooches of Largo, Inc.. (Sarelson, Matthew) (Entered: 05/02/2022)


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  05/11/2022   39   SUPPLEMENT re 36 Amended Complaint Exhibit List and Exhibits by Melanie
                    Nicole Moore. (Attachments: # 1 Supplement exhibits)(Moore, Melanie) (Entered:
                    05/11/2022)
  05/11/2022   40   REPLY to Response to Motion re 35 First MOTION to Amend Complaint filed by
                    Melanie Nicole Moore. (Attachments: # 1 email to opposing counsel)(Moore,
                    Melanie) (Entered: 05/11/2022)
  06/27/2022   41   NOTICE by Melanie Nicole Moore Plaintiff's Notice To The Court (Moore, Melanie)
                    (Entered: 06/27/2022)
  11/10/2022   42   ORDER GRANTING IN PART AND DENYING IN PART 35 Plaintiff's
                    Motion for Leave to File First Amended Complaint. See Order for details.
                    Signed by Judge Mary S. Scriven on 11/10/2022. (APF) (Entered: 11/10/2022)
  11/24/2022   43   AMENDED COMPLAINT against All Defendants with Jury Demand. filed by
                    Melanie Nicole Moore.(Moore, Melanie) (Entered: 11/24/2022)
  11/24/2022   44   SUPPLEMENT re 43 Amended Complaint by Melanie Nicole Moore. (Moore,
                    Melanie) (Entered: 11/24/2022)
  11/25/2022   45   SUPPLEMENT re 43 Amended Complaint Exhibits by Melanie Nicole Moore.
                    (Moore, Melanie) (Entered: 11/25/2022)
  12/01/2022   46   ***STRICKEN PURSUANT TO 51 ORDER***CASE MANAGEMENT
                    REPORT. (Attachments: # 1 Main Document UCM Report)(Moore, Melanie)
                    Modified on 12/8/2022 (LSS). (Entered: 12/01/2022)
  12/02/2022   47   ***TERMINATED, CAPTION IS MISSING, INCORRECT EVENT CODE;
                    PLAINTIFF NOTIFIED VIA NEF***CASE MANAGEMENT REPORT. (Moore,
                    Melanie) Modified on 12/2/2022 (LD). (Entered: 12/02/2022)
  12/02/2022   48   ***STRICKEN PURSUANT TO 51 ORDER***SUPPLEMENT re 46 Case
                    Management Report CM Discussion Re:UCM Report Scheduling Disagreements
                    by Melanie Nicole Moore. (Moore, Melanie) Modified on 12/8/2022 (LSS).
                    (Entered: 12/02/2022)
  12/05/2022   49   MOTION to Strike 48 Supplement by Luis Marquez, Pooches of Largo, Inc.
                    ***STRICKEN PURSUANT TO 51 ORDER*** (Attachments: # 1
                    Exhibit)(Sarelson, Matthew) Modified on 12/8/2022 (LSS). (Entered: 12/05/2022)
  12/08/2022   50   MOTION to Dismiss Partially Dismiss The Second Amended Complaint with
                    Prejudice by Luis Marquez, Pooches of Largo, Inc.. (Attachments: # 1 Exhibit
                    A)(Sarelson, Matthew) (Entered: 12/08/2022)
  12/08/2022   51   ORDER GRANTING IN PART AND DENYING IN PART 49 Defendants'
                    Motion to Strike Plaintiff's Unilateral Scheduling Report and Related
                    Documents and Motion to Adopt the Attached Report. The Parties' unilateral
                    case management reports, (Dkts. 46, 49−1), and Plaintiff's supplemental filing,
                    (Dkt. 48), are STRICKEN. The Court will enter a Case Management and
                    Scheduling Order with appropriate deadlines by separate notice. Signed by
                    Judge Mary S. Scriven on 12/8/2022. (APF) (Entered: 12/08/2022)
  12/13/2022   52   CASE MANAGEMENT AND SCHEDULING ORDER: Pretrial statement due
                    by 5/3/2023. Jury Trial set for the June 2023 Trial Term, which commences
                    6/5/2023, with a more precise date to follow. Conduct mediation hearing by


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                    1/30/2023. Lead counsel to coordinate dates. Signed by Judge Mary S. Scriven
                    on 12/13/2022. (APF) (Entered: 12/13/2022)
  12/14/2022   53   RESPONSE in Opposition re 50 MOTION to Dismiss Partially Dismiss The Second
                    Amended Complaint with Prejudice filed by Melanie Nicole Moore. (Moore,
                    Melanie) (Entered: 12/14/2022)
  01/06/2023   54   NOTICE OF SELECTION of Cynthia N. Sass as mediator by Luis Marquez,
                    Pooches of Largo, Inc.. (Sarelson, Matthew) (Entered: 01/06/2023)
  01/26/2023   55   NOTICE of mediation conference/hearing to be held on February 7, 2023, at 10:00
                    AM (EST) before Cynthia N. Sass. (Sarelson, Matthew) (Entered: 01/26/2023)
  02/07/2023   56   MEDIATION report Hearing held on february 7, 2023. Hearing outcome: Impasse..
                    (Sass, Cynthia) (Entered: 02/07/2023)
  02/08/2023   57   MOTION for Extension of Time to File Dispositive Motions by Luis Marquez,
                    Pooches of Largo, Inc.. (Sarelson, Matthew) (Entered: 02/08/2023)
  02/14/2023   58   RESPONSE in Opposition re 57 MOTION for Extension of Time to File Dispositive
                    Motions filed by Melanie Nicole Moore. (Moore, Melanie) (Entered: 02/14/2023)
  02/14/2023   59   First MOTION to Compel Discovery by Melanie Nicole Moore. (Attachments: # 1
                    Exhibit Indeed objections, # 2 Exhibit Request to Indeed, # 3 Exhibit Response from
                    Indeed, # 4 Exhibit Confirmation of receipt, # 5 Exhibit Confirmation of Post, # 6
                    Exhibit Subpoena indeed.com)(Moore, Melanie) Motions referred to Magistrate
                    Judge Sean P. Flynn. (Entered: 02/15/2023)
  02/22/2023   60   ORDER GRANTING IN PART AND DENYING IN PART 50 Defendant's
                    Motion to Partially Dismiss; GRANTING 57 Defendant's Motion to Extend the
                    Deadline for Dispositive Motions. See Order for details. Signed by Judge Mary
                    S. Scriven on 2/22/2023. (APF) (Entered: 02/22/2023)
  02/22/2023   61   AMENDED CASE MANAGEMENT AND SCHEDULING ORDER: Pretrial
                    statement due by 6/2/2023. Jury Trial set on the JULY 2023 Trial Term, which
                    commences 7/10/2023 with a more precise date to follow. Signed by Judge Mary
                    S. Scriven on 2/22/2023. (APF) (Entered: 02/22/2023)
  03/02/2023   62   ANSWER and affirmative defenses to 43 Amended Complaint by Luis Marquez,
                    Pooches of Largo, Inc..(Sarelson, Matthew) (Entered: 03/02/2023)
  03/21/2023   63   ORDER denying 59 Motion to Compel. See Order for details. Signed by
                    Magistrate Judge Sean P. Flynn on 3/21/2023. (CED) (Entered: 03/21/2023)
  04/07/2023   64   MOTION for Extension of Time to File Motion for Final Summary Judgment
                    Five−Day Extension by All Defendants. (Sarelson, Matthew) (Entered: 04/07/2023)
  04/10/2023   65   ENDORSED ORDER GRANTING 64 Defendants' Motion for a Five−Day
                    Extension of Time to File Their Motion for Final Summary Judgment. The
                    deadline for the Parties to file motions for summary judgment shall be extended
                    until April 12, 2023. Signed by Judge Mary S. Scriven on 4/10/2023. (APF)
                    (Entered: 04/10/2023)
  04/12/2023   66   Final MOTION for Summary Judgment by All Defendants. (Attachments: # 1
                    Affidavit of Luiz Marquez)(Sarelson, Matthew) (Entered: 04/12/2023)
  05/21/2023   67


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                    MEMORANDUM in opposition re 66 Motion for Summary Judgment, 45
                    Supplement filed by Melanie Nicole Moore. (Attachments: # 1 Appendix Table of
                    Authorities Pl. Memo, # 2 Exhibit Def's Responsive Req. Prod., # 3 Exhibit Def's.
                    Responsive Interrogatories)(Moore, Melanie) (Entered: 05/21/2023)
  05/21/2023   68   MEMORANDUM in opposition re 67 Memorandum in opposition, Exhibit Plaintiff's
                    Memorandum filed by Melanie Nicole Moore. (Moore, Melanie) (Entered:
                    05/22/2023)
  05/26/2023   69   REPLY to Response to Motion re 66 Final MOTION for Summary Judgment filed by
                    Luis Marquez, Pooches of Largo, Inc.. (Sarelson, Matthew) (Entered: 05/26/2023)
  06/29/2023   70   SUA SPONTE ORDER Continuing Jury Trial. Jury Trial is continued to the
                    August 2023 Trial Term, which commences on July 31, 2023, at 09:00 AM in
                    Tampa Courtroom 7 A before Judge Mary S. Scriven, with a more precise trial
                    date to follow. Signed by Judge Mary S. Scriven on 6/29/2023. (CAB) (Entered:
                    06/29/2023)
  07/24/2023   71   ORDER GRANTING IN PART AND DENYING IN PART 66 Defendants'
                    Motion for Final Summary Judgment. Signed by Judge Mary S. Scriven on
                    7/24/2023. (APF) (Entered: 07/24/2023)
  07/24/2023   72   AUGUST 2023 TRIAL CALENDAR. Jury Trial set on the August 2023 Trial
                    Term, which commences on 7/31/2023, with a more precise date to follow.
                    Signed by Judge Mary S. Scriven on 7/24/2023. (BCH) (Entered: 07/24/2023)
  07/25/2023   73   ENDORSED ORDER DIRECTING COMPLIANCE with 61 the Court's
                    Amended Case Management and Scheduling Order. The Parties have failed to
                    file their Joint Final Pretrial Statement, which was due on June 2, 2023. The
                    Parties shall have up to and including Friday, July 28, 2023 to file the Pretrial
                    Statement, including witness lists, exhibit lists, jointly proposed jury
                    instructions, and verdict form, consistent with the directives in the Court's
                    Scheduling Order. (Dkt. 61) Signed by Judge Mary S. Scriven on 7/25/2023.
                    (APF) (Entered: 07/25/2023)
  07/26/2023   74   NOTICE of hearing: Telephone Pretrial Conference set for 7/26/2023 at 1:30 PM
                    before Judge Mary S. Scriven. Dial in details will be provided to Counsel by
                    e−mail.(BCH) (Entered: 07/26/2023)
  07/26/2023   75   Minute Entry. Telephonic Proceedings held before Judge Mary S. Scriven:
                    PRETRIAL CONFERENCE held on 7/26/2023. Court Reporter: David Collier
                    (BCH) (Entered: 07/26/2023)
  07/26/2023   76   Judge Scriven's standard Voir Dire. (BCH) (Entered: 07/26/2023)
  07/27/2023   77   ORDER permitting electronics at trial as to Melanie Moore. Signed by Judge
                    Mary S. Scriven on 7/27/2023. (BCH) (Entered: 07/27/2023)
  07/27/2023   78   NOTICE of hearing: Jury Trial (DATE CERTAIN) for 8/7/2023 at 09:00 AM in
                    Tampa Courtroom 7 A before Judge Mary S. Scriven. The Court has reserved two (2)
                    days for trial. (BCH) (Entered: 07/27/2023)
  07/28/2023   79   ORDER concerning witness subpoenas. Signed by Judge Mary S. Scriven on
                    7/28/2023. (Attachments: # 1 Exhibit Form AO 88, # 2 Exhibit FORM USM
                    285)(APF) (Entered: 07/28/2023)



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  07/31/2023   80   ORDER Appointing Attorney Ana Abdo as limited pro bono counsel for
                    Plaintiff. See Order for details. Signed by Judge Mary S. Scriven on 7/31/2023.
                    (APF) (Entered: 07/31/2023)
  07/31/2023   81   PROPOSED verdict form filed by Luis Marquez, Pooches of Largo, Inc. (Sarelson,
                    Matthew) Modified on 8/1/2023 to edit docket text (BCB). (Entered: 07/31/2023)
  07/31/2023   82   Exhibit List by Luis Marquez, Pooches of Largo, Inc. (Sarelson, Matthew) Modified
                    on 8/1/2023 to edit docket text (BCB). (Entered: 07/31/2023)
  07/31/2023   83   Witness List by Luis Marquez, Pooches of Largo, Inc. (Sarelson, Matthew) Modified
                    on 8/1/2023 to edit docket text (BCB). (Entered: 07/31/2023)
  08/01/2023   84   NOTICE of Filing Interrogatory Responses for Trial by Luis Marquez, Pooches of
                    Largo, Inc. (Attachments: # 1 Exhibit A)(Sarelson, Matthew) Modified to edit docket
                    text on 8/2/2023 (HAI). (Entered: 08/01/2023)
  08/02/2023   85   NOTICE of Appearance by Zachary Allen Stoner on behalf of Luis Marquez,
                    Pooches of Largo, Inc. (Stoner, Zachary) (Entered: 08/02/2023)
  08/03/2023   86   Unopposed MOTION to Continue Trial by Melanie Nicole Moore. (Abdo, Ana)
                    (Entered: 08/03/2023)
  08/04/2023   87   **STRICKEN PER ORDER 103** Exhibit List Amended by Luis Marquez, Pooches
                    of Largo, Inc. (Sarelson, Matthew) Modified on 8/4/2023 to edit text (ABC).
                    Modified text on 9/6/2023 (KME). (Entered: 08/04/2023)
  08/04/2023   88   ORDER GRANTING 86 Plaintiff's Unopposed Motion to Continue Trial. See
                    Order for Details. Signed by Judge Mary S. Scriven on 8/4/2023. (EOJ) (Entered:
                    08/04/2023)
  08/04/2023   89   Time Sensitive MOTION to Expedite , Time Sensitive MOTION for Issuance of
                    Subpoena by All Defendants. (Attachments: # 1 Exhibit A − Composite Exhibit re
                    Direct Deposit (Redacted))(Sarelson, Matthew) Motions referred to Magistrate Judge
                    Sean P. Flynn. (Entered: 08/04/2023)
  08/04/2023   90   ENDORSED ORDER DENYING 89 Defendants' Expedited Motion to
                    Authorize Subpoena on PNC Bank. Discovery has closed in this matter, and no
                    further discovery will be permitted. Signed by Judge Mary S. Scriven on
                    8/4/2023. (BCH) (Entered: 08/04/2023)
  08/07/2023   91   NOTICE OF RESCHEDULING HEARING: The Jury Trial previously scheduled for
                    8/7/2023 is rescheduled. New scheduling date and time: Jury Trial (DATE
                    CERTAIN) for 9/18/2023 at 09:00 AM in Tampa Courtroom 7 A before Judge Mary
                    S. Scriven. The Court has reserved two (2) days for trial. (BCH) (Entered:
                    08/07/2023)
  08/09/2023   92   MOTION for Extension of Time to File Joint Jury Instructions, Joint Verdict Forms
                    an Voir Dire by Melanie Nicole Moore. (Abdo, Ana) (Entered: 08/09/2023)
  08/10/2023   93   AMENDED Witness List by Luis Marquez, Pooches of Largo, Inc. (Sarelson,
                    Matthew) Modified text on 8/10/2023 (JK). (Entered: 08/10/2023)
  08/10/2023   94   AMENDED ORDER permitting electronics at trial as to Melanie Moore. Signed
                    by Judge Mary S. Scriven on 8/10/2023. (BCH) (Entered: 08/10/2023)
  08/10/2023   95


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                      RESPONSE in Opposition re 92 MOTION for Extension of Time to File Joint Jury
                      Instructions, Joint Verdict Forms an Voir Dire filed by Luis Marquez, Pooches of
                      Largo, Inc. (Attachments: # 1 Exhibit A)(Sarelson, Matthew) Modified on 8/11/2023
                      to edit text (ABC). (Entered: 08/10/2023)
   08/11/2023    96   Proposed Jury Instructions by Luis Marquez, Pooches of Largo, Inc. (Sarelson,
                      Matthew) (Entered: 08/11/2023)
   08/11/2023    97   PRETRIAL statement by Melanie Nicole Moore. (Moore, Melanie) (Entered:
                      08/11/2023)
   08/14/2023    98   ENDORSED ORDER GRANTING 92 Plaintiff's Unopposed Motion for
                      Extension. The Parties shall have up to and including September 8, 2023 to file
                      proposed JOINT jury instructions, JOINT verdict forms, and voir dire. Signed
                      by Judge Mary S. Scriven on 8/14/2023. (EOJ) (Entered: 08/14/2023)
   08/17/2023    99   First MOTION to Strike 87 Exhibit List by Melanie Nicole Moore. (Attachments: # 1
                      Exhibit Def. Responsive Discovery Production, # 2 Exhibit Def. Responsive
                      Discovery Interrogatories, # 3 Exhibit Email untimely records)(Moore, Melanie)
                      (Entered: 08/17/2023)
   08/18/2023   100   RESPONSE to Motion re 99 First MOTION to Strike 87 Exhibit List filed by Luis
                      Marquez, Pooches of Largo, Inc.. (Attachments: # 1 Exhibit A)(Sarelson, Matthew)
                      (Entered: 08/18/2023)
   08/23/2023   101   TRIAL CALENDAR for the SEPTEMBER 2023 TRIAL TERM. Jury Trial
                      specially set for 9/18/2023 at 09:00 AM in Tampa Courtroom 7 A before Judge
                      Mary S. Scriven. Two (2) days have been reserved for trial. Signed by Judge
                      Mary S. Scriven on 8/23/2023. (BCH) (Entered: 08/23/2023)
   09/01/2023   102   Time Sensitive MOTION for Miscellaneous Relief, specifically Service of Trial
                      Subpoenas by Alternative Methods on Richard Celler by Melanie Nicole Moore.
                      (Attachments: # 1 Exhibit Email asking Celler to accept email service, # 2 Exhibit
                      Return of Non−Service − Celler_ Richard, # 3 Exhibit Return of Non−Service −
                      Celler_ Richard, # 4 Exhibit Member Profile − Richard Bernard Celler − The Florida
                      Bar, # 5 Exhibit Who We Are_ The Celler Legal Law Firm Team)(Abdo, Ana)
                      (Entered: 09/01/2023)
   09/05/2023   103   ENDORSED ORDER GRANTING 99 Motion to Strike Defendants' late
                      amended exhibit list. The exhibit list filed with the Pretrial stipulation contains a
                      very limited number of documents. It shall be the exhibit list used at trial. At the
                      pretrial conference Defendants advised that there were no additional documents
                      that would be introduced at trial. Specifically, counsel advised: "Your honor we
                      suspect every one of our exhibits will be on the Plaintiff's exhibit list, and I don't
                      believe we will independently have exhibits. There's... really not a lot in terms of
                      exhibits in this case, just some paystubs and a job posting and a text message
                      exchange. So, I'm sure this will be on Miss Moore's exhibit list, and we will
                      probably use those as well, so−−−" The new material contained on this amended
                      list was neither located by Defendants, by even a cursory inquiry for available
                      discovery within their possession or control, nor produced during the discovery
                      period or thereafter in this litigation. There has been no opportunity for
                      Plaintiff to probe any witness on the authenticity or accuracy of this discovery
                      or prepare for its use at trial. As such, it is STRICKEN, and no Defense witness
                      will be allowed to discuss its contents at trial, to the extent the trial testimony is
                      informed or refreshed by the inadmissible evidence. Additionally, Defense

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                      counsel shall within seven (7) days of the date of this Order SHOW CAUSE why
                      sanctions should not be imposed for the failure to inquire about these documents
                      or produce them during discovery as requested and as required. Signed by
                      Judge Mary S. Scriven on 9/5/2023. (Scriven, Mary) (Entered: 09/05/2023)
   09/05/2023   104   ENDORSED ORDER GRANTING 102 Plaintiff's Time−Sensitive Unopposed
                      Motion for Leave to Serve Trial Subpoenas. The Court finds Plaintiff has made
                      diligent inquiries and good−faith efforts to effectuate service. Therefore,
                      Plaintiff is authorized to serve Richard Celler via E−mail, FedEx, and/or
                      overnight U.S. mail. Celler shall appear at trial or face sanctions for failing to
                      appear. This ORDER shall be served along with the subpoena. Signed by Judge
                      Mary S. Scriven on 9/5/2023. (EOJ) (Entered: 09/05/2023)
   09/06/2023   105   NOTICE by Melanie Nicole Moore of Filing Completed Methods of Alternative
                      Service on Richard Celler. (Attachments: # 1 Exhibit Order Granting Time−Sensitive
                      Unopposed Motion for Leave to Serve Trial Subpoenas on Richard Celler, # 2
                      Exhibit B Subpoena to Appear for Trial served 9−6−23, # 3 Exhibit Witness Fee
                      Check for 9−6−23 service, # 4 Exhibit US Mail envelope for 9−6−23 service, # 5
                      Exhibit Celler Fed Ex Label for 9−6−23 service)(Abdo, Ana) (Entered: 09/06/2023)
   09/07/2023   106   MOTION for Richard Celler to appear telephonically by Richard Celler. (Storch,
                      Noah) Motions referred to Magistrate Judge Sean P. Flynn. (Entered: 09/07/2023)
   09/08/2023   107   ENDORSED ORDER GRANTING in PART and DENYING in PART 106
                      Non−Party Richard Celler's Motion to Appear via Zoom for Trial or, in the
                      Alternative, for Miscellaneous Relief. The Court finds that Mr. Celler is
                      properly within the Court's subpoena power because he resides in the State of
                      Florida and he will not incur significant expenses to travel 243 miles from his
                      home to testify at trial. The Court DENIES Mr. Celler's request for a protective
                      order because Plaintiff holds the privilege in the attorney−client relationship
                      between her and Mr. Celler, and should Plaintiff choose to waive privilege, that
                      is her prerogative. The Court GRANTS Mr. Celler's request for Time
                      [Reasonably] Certain. Rosh Hashanah ends at sundown on Sunday, September
                      17, 2023, so Mr. Celler will not be called to testify before 1:30 P.M. on
                      September 18, 2023, to allow him the full observance of the holiday and
                      sufficient time to travel to Tampa. Thereafter, Mr. Celler shall remain available
                      for trial, and he shall "sit and stare" like all other witnesses must until he is
                      called to testify because the Court will not permit remote appearances at this
                      jury trial. Rather than sit and stare, as a barred attorney with proper
                      identification as such, Mr. Celler is also free to bring his electronic devices into
                      the federal courthouse and make use of the library on the sixth floor until he is
                      called to testify. The Court DENIES all other relief requested by Mr. Celler.
                      Signed by Judge Mary S. Scriven on 9/8/2023. (EOJ) (Entered: 09/08/2023)
   09/08/2023   108   Proposed Jury Instructions by Melanie Nicole Moore. (Abdo, Ana) (Entered:
                      09/08/2023)
   09/08/2023   109   PROPOSED verdict form filed byMelanie Nicole Moore. (Abdo, Ana) (Entered:
                      09/08/2023)
   09/08/2023   110   Proposed Voir Dire by Melanie Nicole Moore. (Abdo, Ana) (Entered: 09/08/2023)
   09/11/2023   111   NOTICE of Filing Return of Service of Trial Subpoena on Luis Marquez by Melanie
                      Nicole Moore (Attachments: # 1 Exhibit Return of Service−Marquez Luis)(Abdo,
                      Ana). Modified on 9/12/2023 to edit text (ABC). (Entered: 09/11/2023)

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   09/12/2023   112   RESPONSE TO ORDER TO SHOW CAUSE re 103 Order on Motion to Strike filed
                      by Luis Marquez, Pooches of Largo, Inc.. (Attachments: # 1 Affidavit of Luis
                      Marquez, # 2 Affidavit of Alison Nieves, # 3 Affidavit of Yaylin Martinez, # 4
                      Affidavit of Matthew Sarelson (with exhibits))(Sarelson, Matthew) (Entered:
                      09/12/2023)
   09/13/2023   113   RESPONSE in Opposition re 99 First MOTION to Strike 87 Exhibit List Plaintiff's
                      Opposition to Defendants' Motion for Reconsideration filed by Melanie Nicole
                      Moore. (Moore, Melanie) (Entered: 09/13/2023)
   09/15/2023   114   PLAINTIFF'S Exhibit List by Melanie Nicole Moore. (Moore, Melanie) (Modified
                      on 9/15/2023, to edit text) (BGR). (Entered: 09/15/2023)
   09/17/2023   115   MOTION to Allow Electronic Equipment, specifically Cell Phones by All
                      Defendants. (Sarelson, Matthew) (Entered: 09/17/2023)
   09/17/2023   116   MOTION to Strike 114 Exhibit List by All Defendants. (Sarelson, Matthew)
                      (Entered: 09/17/2023)
   09/18/2023   117   ORDER GRANTING 115 Defendants' Motion to Authorize Cell Phones. Signed
                      by Judge Mary S. Scriven on 9/18/2023. (EOJ) (Entered: 09/18/2023)
   09/18/2023   118   Minute Entry. In Person Proceedings held before Judge Mary S. Scriven: JURY
                      TRIAL DAY 1 held on 9/18/2023. Court Reporter: David Collier (BCH) (Entered:
                      09/18/2023)
   09/18/2023   119   ORAL MOTION for Judgment as a Matter of Law by Luis Marquez, Pooches of
                      Largo, Inc. (BCH) (Entered: 09/19/2023)
   09/19/2023   120   ORAL MOTION to Strike Trial Witness Testimony as stated on the record by
                      Melanie Nicole Moore. (BCH) (Entered: 09/19/2023)
   09/19/2023   121   Minute Entry. In Person Proceedings held before Judge Mary S. Scriven: JURY
                      TRIAL DAY 2. Trial completed on 9/19/2023. Court Reporter: David Collier (BCH)
                      (Entered: 09/19/2023)
   09/19/2023   122   ORAL ORDER denying 116 Motion to Strike for the reasons stated on the
                      record. Signed by Judge Mary S. Scriven on 9/18/2023. (BCH) (Entered:
                      09/19/2023)
   09/19/2023   123   ORAL ORDER granting in part and denying in part 119 Defendant's Oral
                      Motion for Judgment as a Matter of Law for the reasons stated on the record. A
                      separate Order will follow. Signed by Judge Mary S. Scriven on 9/19/2023.
                      (BCH) (Entered: 09/19/2023)
   09/19/2023   124   ORAL ORDER denying 120 Plaintiff's Oral Motion to Strike witness testimony.
                      Signed by Judge Mary S. Scriven on 9/19/2023. (BCH) (Entered: 09/19/2023)
   09/19/2023   125   Jury Instructions. (KAC) (Entered: 09/21/2023)
   09/19/2023   126   JURY VERDICT. (Attachments: # 1 Restricted Unredacted Jury Verdict)(KAC)
                      (Entered: 09/21/2023)
   09/22/2023   127   Plaintiff's Exhibit List and Exhibits admitted during the jury trial by Melanie Nicole
                      Moore. (Attachments: # 1 Exhibit 1A, # 2 Exhibit 1B, # 3 Exhibit 1C, # 4 Exhibit 1D,
                      # 5 Exhibit 1E, # 6 Exhibit 1F, # 7 Exhibit 1G, # 8 Exhibit 1H, # 9 Exhibit 2E, # 10
                      Exhibit 3A, # 11 Exhibit 3B, # 12 Exhibit 3E, # 13 Exhibit 4A, # 14 Exhibit 4B, # 15


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                      Exhibit 4C, # 16 Exhibit 4D, # 17 Exhibit 4E, # 18 Exhibit 4F)(KAC) (Entered:
                      09/22/2023)
   09/25/2023   128   JURY NOTES. (Attachments: # 1 Exhibit Restricted Unredacted Jury Notes)(BCH)
                      (Entered: 09/25/2023)
   09/25/2023   129   ENDORSED ORDER DIRECTING ENTRY OF JUDGMENT. At the close of
                      the Plaintiff Moore's case and on motion of the defense, the Court directed the
                      entry of Judgment as a Matter of Law in favor of Defendant Marquez in his
                      individual capacity. Thereafter, by its verdict, the Jury found that Defendant
                      Pooches of Largo, Inc. failed to pay Plaintiff the minimum wage required by
                      law. However, in response to the verdict's special interrogatory, the jury also
                      found that Defendant Pooches of Largo, Inc. did not know, or show reckless
                      disregard for whether, the FLSA prohibited its conduct. Thus, the jury found
                      the failure to pay was not willful. Because Plaintiff filed her complaint more
                      than 24 months from the date her claim accrued and the jury found that the
                      violation of the FLSA was NOT willful, the Court found that the statute of
                      limitations bars the claim. Accordingly, as stated on the record, in light of the
                      Court's entry of judgment for Luis Marquez, the Jury's Verdict, and the Court's
                      finding as to the Statute of limitations, the Clerk is directed to ENTER
                      JUDGMENT for the Defendants, Pooches of Largo, Inc. and Luis Marquez, and
                      AGAINST Plaintiff as to ALL Counts and CLOSE this Case. Plaintiff Moore
                      shall recover NOTHING on her claim. Any pending motions are DENIED AS
                      MOOT. Signed by Judge Mary S. Scriven on 9/25/2023. (EOJ) (Entered:
                      09/25/2023)
   09/26/2023   130   JUDGMENT in favor of Pooches of Largo, Inc., Luis Marquez against Melanie
                      Nicole Moore. Signed by Deputy Clerk on 9/26/2023. (CTR) (Entered:
                      09/26/2023)
   10/12/2023   131   ORDER concerning the uncashed check. The Clerk is DIRECTED to return the
                      Check to Mulberry Legal Services, Inc. using the address listed on the
                      negotiable instrument. Signed by Judge Mary S. Scriven on 10/12/2023. (EOJ)
                      (Entered: 10/12/2023)
   10/25/2023   132   NOTICE OF APPEAL as to 130 Judgment, 129 Order by Melanie Nicole Moore.
                      Filing fee not paid. (Moore, Melanie) (Entered: 10/25/2023)
   10/26/2023   133   First MOTION for Transcript of held on by Melanie Nicole Moore. (Moore, Melanie)
                      Motions referred to Magistrate Judge Sean P. Flynn. (Entered: 10/26/2023)




                                         I CERTIFY THE FOREGOING TO BE A TRUE
                                          AND CORRECT COPY OF THE ORIGINAL
                                                   CLERK OF COURT
                                             UNITED STATES DISTRICT COURT
                                              MIDDLE DISTRICT OF FLORIDA

                                         BY:
                                               KatrinaElliott




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  MIME−Version:1.0
  From:cmecf_flmd_notification@flmd.uscourts.gov
  To:cmecf_flmd_notices@localhost.localdomain
  Bcc:
  −−Case Participants: Ana M. Abdo (ana.abdo@hwhlaw.com, lori.williamson@hwhlaw.com),
  Zachary Allen Stoner (zstoner@dhillonlaw.com), Matthew Seth Sarelson
  (epotter@dhillonlaw.com, haguillard@dhillonlaw.com, msarelson@dhillonlaw.com,
  msarelson@sarelson.com), Melanie Nicole Moore (mylink2u@gmail.com, vettechmnm@gmail.com),
  Judge Mary S. Scriven (chambers_flmd_scriven@flmd.uscourts.gov), Magistrate Judge Sean P.
  Flynn (chambers_flmd_flynn@flmd.uscourts.gov)
  −−Non Case Participants: Elliot O. Jackson (elliot_jackson@flmd.uscourts.gov), Kristin A.
  Carreon (kristin_carreon@flmd.uscourts.gov)
  −−No Notice Sent:

  Message−Id:23598782@flmd.uscourts.gov
  Subject:Activity in Case 8:20−cv−02184−MSS−SPF Moore v. Pooches of Largo, Inc. et al Order
  Content−Type: text/html

                                            U.S. District Court

                                         Middle District of Florida

  Notice of Electronic Filing


  The following transaction was entered on 9/25/2023 at 3:04 PM EDT and filed on 9/25/2023

  Case Name:       Moore v. Pooches of Largo, Inc. et al
  Case Number:     8:20−cv−02184−MSS−SPF
  Filer:
  Document Number: 129(No document attached)
  Docket Text:
   ENDORSED ORDER DIRECTING ENTRY OF JUDGMENT. At the close of the Plaintiff Moore's
  case and on motion of the defense, the Court directed the entry of Judgment as a Matter of
  Law in favor of Defendant Marquez in his individual capacity. Thereafter, by its verdict, the
  Jury found that Defendant Pooches of Largo, Inc. failed to pay Plaintiff the minimum wage
  required by law. However, in response to the verdict's special interrogatory, the jury also
  found that Defendant Pooches of Largo, Inc. did not know, or show reckless disregard for
  whether, the FLSA prohibited its conduct. Thus, the jury found the failure to pay was not
  willful. Because Plaintiff filed her complaint more than 24 months from the date her claim
  accrued and the jury found that the violation of the FLSA was NOT willful, the Court found
  that the statute of limitations bars the claim. Accordingly, as stated on the record, in light of
  the Court's entry of judgment for Luis Marquez, the Jury's Verdict, and the Court's finding as
  to the Statute of limitations, the Clerk is directed to ENTER JUDGMENT for the Defendants,
  Pooches of Largo, Inc. and Luis Marquez, and AGAINST Plaintiff as to ALL Counts and
  CLOSE this Case. Plaintiff Moore shall recover NOTHING on her claim. Any pending motions
  are DENIED AS MOOT. Signed by Judge Mary S. Scriven on 9/25/2023. (EOJ)
                                                                                     I CERTIFY THE FOREGOING TO BE A TRUE
                                                                                      AND CORRECT COPY OF THE ORIGINAL
  8:20−cv−02184−MSS−SPF Notice has been electronically mailed to:                              CLERK OF COURT
                                                                                         UNITED STATES DISTRICT COURT
                                                                                          MIDDLE DISTRICT OF FLORIDA

  Matthew Seth Sarelson msarelson@dhillonlaw.com, HAguillard@dhillonlaw.com,         BY:
                                                                                           KatrinaElliott
  epotter@dhillonlaw.com, msarelson@sarelson.com



                                                                                                                       13
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  Ana M. Abdo    ana.abdo@hwhlaw.com, lori.williamson@hwhlaw.com

  Zachary Allen Stoner   zstoner@dhillonlaw.com

  Melanie Nicole Moore    vettechmnm@gmail.com, mylink2u@gmail.com

  8:20−cv−02184−MSS−SPF Notice has been delivered by other means to:




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Case 8:20-cv-02184-MSS-SPF Document
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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

  MELANIE NICOLE MOORE,

                       Plaintiff,

  v.                                                    Case No: 8:20-cv-2184-MSS-SPF

  POOCHES OF LARGO, INC. and
  LUIS MARQUEZ, Individually and
  as owner of Pooches of Largo, Inc.,

                   Defendants.
  ___________________________________

                             JUDGMENT IN A CIVIL CASE

  Decision by Court. This action came before the Court and a decision has been rendered.

         IT IS ORDERED AND ADJUDGED that judgment is entered in favor for the

  Defendants, Pooches of Largo, Inc. and Luis Marquez, and against Plaintiff as to all counts.

  Any motions seeking an award of attorney's fees and/or costs must be filed
  within the time and in the manner prescribed in Local Rule 7.01, United States
  District Court Middle District of Florida.

  Date: September 26, 2023

                                            ELIZABETH M. WARREN,
                                            CLERK

                                            s/C. Roberts, Deputy Clerk




                                                                                                 15
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                        CIVIL APPEALS JURISDICTION CHECKLIST
1.     Appealable Orders: Courts of Appeals have jurisdiction conferred and strictly limited by statute:

       (a)       Appeals from final orders pursuant to 28 U.S.C. Section 1291: Only final orders and judgments of district courts, or final
                 orders of bankruptcy courts which have been appealed to and fully resolved by a district court under 28 U.S.C. Section 158,
                 generally are appealable. A final decision is one that “ends the litigation on the merits and leaves nothing for the court to do
                 but execute the judgment.” Pitney Bowes, Inc. V. Mestre, 701 F.2d 1365, 1368 (11th Cir. 1983). A magistrate judge’s report
                 and recommendation is not final and appealable until judgment thereon is entered by a district court judge. 28 U.S.C. Section
                 636(c).

       (b)       In cases involving multiple parties or multiple claims, a judgment as to fewer than all parties or all claims is not a final,
                 appealable decision unless the district court has certified the judgment for immediate review under Fed.R.Civ.P. 54(b),
                 Williams v. Bishop, 732 F.2d 885, 885-86 (11th Cir. 1984). A judgment which resolves all issues except matters, such as
                 attorneys’ fees and costs, that are collateral to the merits, is immediately appealable. Budinich v. Becton Dickinson & Co.,
                 486 U.S. 196, 201, 108 S. Ct. 1717, 1721-22, 100 L.Ed.2d 178 (1988); LaChance v. Duffy’s Draft House, Inc., 146 F.3d 832,
                 837 (11th Cir. 1998).

       (c)       Appeals pursuant to 28 U.S.C. Section 1292(a): Appeals are permitted from orders “granting, continuing, modifying,
                 refusing or dissolving injunctions or refusing to dissolve or modify injunctions...” and from “[i]nterlocutory
                 decrees...determining the rights and liabilities of parties to admiralty cases in which appeals from final decrees are allowed.”
                 Interlocutory appeals from orders denying temporary restraining orders are not permitted.

       (d)       Appeals pursuant to 28 U.S.C. Section 1292(b) and Fed.R.App.P.5: The certification specified in 28 U.S.C. Section
                 1292(b) must be obtained before a petition for permission to appeal is filed in the Court of Appeals. The district court’s
                 denial of a motion for certification is not itself appealable.

       (e)       Appeals pursuant to judicially created exceptions to the finality rule: Limited exceptions are discussed in cases including,
                 but not limited to: Cohen V. Beneficial Indus. Loan Corp., 337 U.S. 541,546,69 S.Ct. 1221, 1225-26, 93 L.Ed. 1528 (1949);
                 Atlantic Fed. Sav. & Loan Ass’n v. Blythe Eastman Paine Webber, Inc., 890 F. 2d 371, 376 (11th Cir. 1989); Gillespie v.
                 United States Steel Corp., 379 U.S. 148, 157, 85 S. Ct. 308, 312, 13 L.Ed.2d 199 (1964).

2.     Time for Filing: The timely filing of a notice of appeal is mandatory and jurisdictional. Rinaldo v. Corbett, 256 F.3d 1276, 1278 (11th
       Cir. 2001). In civil cases, Fed.R.App.P.4(a) and (c) set the following time limits:

       (a)       Fed.R.App.P. 4(a)(1): A notice of appeal in compliance with the requirements set forth in Fed.R.App.P. 3 must be filed in
                 the district court within 30 days after the entry of the order or judgment appealed from. However, if the United States or an
                 officer or agency thereof is a party, the notice of appeal must be filed in the district court within 60 days after such entry.
                 THE NOTICE MUST BE RECEIVED AND FILED IN THE DISTRICT COURT NO LATER THAN THE LAST
                 DAY OF THE APPEAL PERIOD - no additional days are provided for mailing. Special filing provisions for inmates are
                 discussed below.

       (b)       Fed.R.App.P. 4(a)(3): “If one party timely files a notice of appeal, any other party may file a notice of appeal within 14 days
                 after the date when the first notice was filed, or within the time otherwise prescribed by this Rule 4(a), whichever period ends
                 later.”

       (c)       Fed.R.App.P.4(a)(4): If any party makes a timely motion in the district court under the Federal Rules of Civil Procedure of
                 a type specified in this rule, the time for appeal for all parties runs from the date of entry of the order disposing of the last
                 such timely filed motion.

       (d)       Fed.R.App.P.4(a)(5) and 4(a)(6): Under certain limited circumstances, the district court may extend the time to file a notice
                 of appeal. Under Rule 4(a)(5), the time may be extended if a motion for an extension is filed within 30 days after expiration
                 of the time otherwise provided to file a notice of appeal, upon a showing of excusable neglect or good cause. Under Rule
                 4(a)(6), the time may be extended if the district court finds upon motion that a party did not timely receive notice of the entry
                 of the judgment or order, and that no party would be prejudiced by an extension.

       (e)       Fed.R.App.P.4(c): If an inmate confined to an institution files a notice of appeal in either a civil case or a criminal case, the
                 notice of appeal is timely if it is deposited in the institution’s internal mail system on or before the last day for filing. Timely
                 filing may be shown by a declaration in compliance with 28 U.S.C. Section 1746 or a notarized statement, either of which
                 must set forth the date of deposit and state that first-class postage has been prepaid.

3.     Format of the notice of appeal: Form 1, Appendix of Forms to the Federal Rules of Appellate Procedure, is a suitable format. See
       also Fed.R.App.P. 3(c). A pro se notice of appeal must be signed by the appellant.

4.     Effect of a notice of appeal: A district court loses jurisdiction (authority) to act after the filing of a timely notice of appeal, except for
       actions in aid of appellate jurisdiction or to rule on a timely motion of the type specified in Fed.R.App.P. 4(a)(4).
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                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

Melanie Moore,                                     Case No. 8 :20-CV-02184MSS-SPF

     Plaintiff,

v.

Luis Marquez and

Pooches of Largo, Inc.,

   Defendants,
_______________________________/

                           PLAINTIFF’S NOTICE OF APPEAL

     Plaintiff-Appellant Melanie Moore hereby appeals to the United States Court of

     Appeals for the Eleventh Circuit from the final judgement entered in this action

     on September 26, 2023.




                                          Respectfully submitted,

                                          (s) Melanie Moore
                                          vettechmnm@gmail.com
                                          727 241-9199
                                          15519 Darien Way
                                          Clearwater, Florida 33764




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                                 Certificate of Service

  Plaintiff hereby certifies that on October 25, 2023, a copy of the foregoing

  NOTICE OF APPEAL was sent to counsel for Defendants through the Court’s

  electronic filing system.

  Matthew Sarelson
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  West Palm Beach, Florida 33401
  305-773-1952
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